                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

ESTHER KOONTZ,                                    )
                                                  )
               Plaintiff,                         )   Case No. 17-4099-DDC
                                                  )
v.                                                )
                                                  )
RANDALL D. WATSON, Kansas                         )
Commissioner of Education, in his                 )
official capacity.                                )
                                                  )
               Defendant.                         )


                    JOINT MOTION FOR EXTENSION OF TIME

       Plaintiff Esther Koontz and Defendant Dr. Randall D. Watson, by and through their

respective counsel, jointly move this Court for an extension of time in which the parties will file

subsequent briefs. In support of this Motion, the parties state as follows:

       1.      On October 11, 2017, Koontz filed a Complaint for declaratory and

injunctive relief concerning HB 2409, K.S.A. 75-3740e and K.S.A. 3740f. ECF No. 1.

       2.      The parties conferred, agreed that discovery was not necessary, and

urged this Court to set deadlines for cross-motions for summary judgment. ECF No.

17; see also ECF No. 20 (amending the original summary judgment deadline).

       3.      Pursuant to that schedule, the parties submitted joint stipulations of

facts on March 23, 2018, and Koontz filed her motion for summary judgment on

March 30, 2018. ECF Nos. 21, 22, and 23.

       4.      The Kansas Legislature has since amended K.S.A. 75-3740e and 75-

3740f. See 2018 Session Law, H.B. No. 2482. HB 2482 did three things pertinent to

this action. First, it reduced those subject to the certification requirement. Only a

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company must submit a certification; an individual need not. See id. at § 3(a); see also

id. at § 2 (confirming that a contract does not include an agreement between the state

and an individual). Second, it limited the type of transactions for which a certification

is required: it only applies to a written agreement between the state and a company

to acquire or dispose of goods or services with an aggregate price of more than

$100,000” See id. at § 2(c). Third, it explained the purpose of the law. See id. at § 1.

The     Governor    signed   HB    2482    into   law    on   April   18,   2018.     See

http://kslegislature.org/li/b2017_18/measures/hb2482/.

        5.    The parties jointly request additional time to consider and confer

concerning what impact, if any, HB 2482 has upon this litigation. Specifically, the

parties seek an extension of previously agreed deadlines such that (i) Dr. Watson’s

response to summary judgment and cross-motion for summary judgment will be due

on June 1, 2018, (ii) Koontz’s response/reply brief regarding the pending motions for

summary judgment will be due July 13, 2018, and (iii) Dr. Watson’s reply brief in

support of his cross-motion for summary judgment will be due on August 10, 2018.

The following is a table comparing the prior dates set by this Court, see ECF No. 17,

with the dates proposed by the parties.

                         Filing                       Prior Date      Proposed Date
      Dr. Watson’s summary judgment and cross-       May 4, 2018      June 1, 2018
      motion for summary judgment deadline
      Koontz’s response/reply brief regarding the    June 8, 2018     July 13, 2018
      pending summary judgment motions.
      Dr. Watson’s reply brief in support of his     July 13, 2018    August 10, 2018
      cross-motion for summary judgment.




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      6.     No other extensions have been requested concerning these deadlines

and this request is made before the expiration of the current deadlines.

      7.     This motion is not presented for the purposes of delay, and it will not

prejudice any party herein.

      WHEREFORE, the parties jointly request an extension of the aforementioned

deadlines.

                          Respectfully Submitted,

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                          ATTORNEYS FOR PLAINTIFF


                          CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of May, 2018, I electronically filed the
above and foregoing with the Clerk of the Court using the CM/ECF system, which
will send a notice of electronic filing to all counsel of record.


                              /s/ Toby Crouse
                          ATTORNEY FOR DR. RANDALL D. WATSON




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